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 8                                    UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

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11 ENVIRONMENTAL PROTECTION
   INFORMATION CENTER,                                   No. 2:23−cv−02611−KJN
12
                      Plaintiff,                         INITIAL SCHEDULING ORDER, CASES
                                                         ASSIGNED UNDER APP. A, SUB (M)
13
                   v.
14
   U.S. FISH AND WILDLIFE SERVICE,
15
                      Defendant(s).
16                                                  /

17         This action has been assigned to a Magistrate Judge under the court’s automated case

18 assignment plan. See Local Rules, Appendix A, subsection (m).

19         Should the parties wish to consent to the jurisdiction of the Magistrate Judge for all purposes,

20 including for the entry of final judgment, they may do so using the “Consent to Assignment or Request

21 for Reassignment” form. See 28 U.S.C. § 636(c). There is no obligation to consent, and the judges will

22 not be notified of a party’s designation unless all parties have consented. See Fed. R. Civ. P. 73(b)(1).

23 If any party requests reassignment to a United States District Judge, the Clerk of the Court will assign

24 a random District Judge as presiding judge, with the Magistrate Judge continuing for those purposes

25 anticipated by the Local Rules. Because a consent designation assists the court in determining how

26 the action will be administratively processed, the parties are instructed to make their election promptly

27 and notify the Clerk of the Court as soon as practicable.

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 1       Under Federal Rule of Civil Procedure 16 and Local Rule 240, IT IS HEREBY ORDERED:

 2       1. When serving process under Rule 4, plaintiff(s) shall provide each defendant with a copy of

 3          this order and the consent information attached to this order. Within 10 days after service of

 4          process on a given defendant, plaintiff(s) shall file a certificate stating that the defendant was

 5         served under Rule 4.1

 6       2. Each party shall return the “CONSENT / DECLINE OF U.S. MAGISTRATE JUDGE

 7          JURISDICTION” form to the Clerk within 90 days from the date the action was filed,

 8          or within 14 days of removal from state court. The parties are strongly encouraged to

 9          submit their consent forms before the filing of any motion, so the motion can be noticed before

10          the proper judge. Failure to do so may result in the court vacating a hearing or declining to

11          resolve the motion until all consent designations have been submitted.

12       3. Within 30 days of the filing of an answer to the complaint, the parties shall file a joint status

13          report addressing the relevant portions of Local Rule 240(a) to facilitate the entry of a pretrial

14          scheduling order. Therein, the parties may propose dates for a hearing based on the court’s

15          available hearing dates or may agree the court can enter a scheduling order without the need

16          for a hearing.

17       4. The parties are directed to the undersigned’s Standing Orders, located on the court’s web

18          page at www.caed.uscourts.gov. The parties should take note of the page limits assigned to

19          civil motions and discovery joint statements. The parties are responsible for knowing and

20          complying with the court’s standing orders.

21       5. The parties are reminded of their continuing duty to notify chambers immediately of any

22          settlement or other disposition. See Local Rule 160.

23                                                     /s/ KENDALL J. NEWMAN
                                                      UNITED STATES MAGISTRATE JUDGE
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27   1Alternatively, if this action was removed from state court, the removing party shall immediately serve

   upon each of the other parties, and upon all parties subsequently joined, a copy of this order, and
28 shall file with the Clerk a notice that the parties have been served.


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